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                                   3
                                     Las Vegas, Nevada 89101
                                   4 702.626.4646
                                     lance@maningolaw.com
                                   5 Attorney for Defendant SEYBERT
                                   6
                                                           UNITED STATES DISTRICT COURT
                                   7                            DISTRICT OF NEVADA

                                   8
                                   9 SECURITIES AND EXCHANGE
                                     COMMISSION,
                                  10                                            Case No. 2:22-cv-00612
                                                    Plaintiff,
                                  11 vs.                                        RESPONSE TO ACCOUNTING
                                  12                                            ORDERED PURSUANT TO APRIL 13,
                                     MATTHEW WADE BEASLEY; BEASLEY              2022 TEMPORARY RESTRAINING
400 South 4th Street, Suite 650




                                  13 LAW GROUP PC; JEFFREY J. JUDD;             ORDER [ECF NO. 3]
  Las Vegas, Nevada 89101
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                                     CHRISTOPHER R. HUMPHRIES; J&J
                                  14
                                     CONSULTING SERVICES INC., an Alaska
                                  15 Corporation; J&J CONSULTING SERVICE,
                                     INC., a Nevada Corporation; J AND J
                                  16 PURCHASING LLC; SHANE M. JAGER;
                                     JASON M. JONGEWARD; DENNY
                                  17
                                     SEYBERT; and ROLAND TANNER;
                                  18
                                                    Defendants;
                                  19
                                     THE JUDD IRREVOCABLE TRUST; PAJ
                                  20
                                     CONSULTING INC; BJ HOLDINGS LLC;
                                  21 STIRLING CONSULTING, L.L.C.; CJ
                                     INVESTMENTS, LLC; JL2
                                  22 INVESTMENTS, LLC; ROCKING HORSE
                                     PROPERTIES, LLC; TRIPLE THREAT
                                  23
                                     BASKETBALL, LLC; ACAC LLC;
                                  24 ANTHONY MICHAEL ALBERTO, JR.;
                                     and MONTY CREW LLC;
                                  25
                                                    Relief Defendants.
                                  26
                                  27
                                  28



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                                                Pursuant to the accounting ordered in the Court’s April 13, 2022, Temporary
                                   1
                                       Restraining Order (hereinafter the “TRO”), at ¶ X, Defendant Denny Seybert (hereinafter
                                   2
                                       “Seybert”) responds as follows:
                                   3
                                   4            Bank Accounts:

                                   5
                                            Financial
                                   6       Institution       Name of Account             Owner           Account No.      Open
                                   7                                             Denny D Seybert
                                        Wells Fargo         LV Capital LLC,                              XXXXXX921      1/15/2020
                                                                                 50% Coltyn Simmons
                                   8                        Denny D Seybert &    Denny D Seybert &
                                        Wells Fargo                                                      XXXXXX764      4/15/2012
                                   9                        Julie Seybert        Julie Seybert
                                        Bank of America     Denny D Seybert      Denny D Seybert         XXXXXX987      3/15/1997
                                  10    Credit Union 1      Denny D Seybert      Denny D Seybert         UNKNOWN        2/15/1992
                                  11    Bank of Nevada      Quarter Horse        Denny D Seybert,        XXXXXX555      8/15/2005
                                                            Associates LLC       manager
                                  12                        C&C Group
                                        Chase Bank          Holdings LLC         Denny & Julie Seybert XXXXXX969        12/1/2011
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                                  13
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                                        Bank of the         C&C Group
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                                                                                                                        7/15/2016
                                  14    West                Holdings LLC         Denny & Julie Seybert XXXXXX938
                                        US Bank             Denny D Seybert &    Denny & Julie Seybert                  7/15/2015
                                  15                        Julie Seybert                                XXXXXX465
                                  16    Wells Fargo         Rockinghorse         Denny D Seybert         XXXXXX429      6/15/1997
                                                            Properties LLC
                                  17
                                  18 *complete bank account numbers will be provided in a supplement hereto, if necessary.
                                  19            Real and Personal Property:
                                  20
                                        Asset                        Description                   Percent Owner       Acquired
                                  21
                                        4524 Garden Place            Rental property with rental   100%                11/6/2015
                                  22                                 income
                                  23
                                        570 Karen Way                Rental Property with rental   100%                5/26/2016
                                  24                                 income

                                  25    331 Tungsten St              Rental property with rental   100%                1/28/2016
                                                                     income
                                  26
                                        338 Tungsten St              Rental property with rental   100%                2/3/2015
                                  27
                                                                     income
                                  28
                                        259 W Basic Rd               Rental property with rental   100%                4/11/2012
                                                                     income

                                                                                     2
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                                       243 W Basic Rd             Rental property with rental    100%   11/6/2012
                                   1                              income

                                   2   1041 N Michael Way         Rental property with rental    100%   8/21/2015
                                       #255                       income
                                   3
                                       2305 W Horizon Ridge       Rental property with rental    100%   9/30/2003
                                   4
                                       Pkwy #3913                 income
                                   5
                                       251 W Basic Rd             Rental property with rental    100%   5/13/2011
                                   6                              income

                                   7   254 W Basic Rd             Rental property with rental    100%   12/27/2012
                                                                  income
                                   8
                                       247 W Basic Rd             Rental property with rental    100%   5/2/2002
                                   9
                                                                  income
                                  10
                                       1104 Snow Roof Ave         Rental property with rental    100%   11/10/2005
                                  11                              income
                                  12   2176 Skyline Heights Ln    Main family residence          100%   12/19/2018
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                                  13   12245 Carmel Vista Rd      Second home, occasionally      100%   4/6/2021
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                                       #192, San Diego, CA        AIRBNB
                                  14
                                       1087 W Dixie Lane,         Second home, occasional        100%   7/6/2018
                                  15
                                       Panguitch Lake, UT         rental
                                  16
                                       1098 Lake Pointe Dr,       Second home, will be           100%   12/2/2021
                                  17   Bigfork, MT                occasionally AIRBNB
                                  18   2017 Tesla                 Spouse's vehicle. Located in   100%   12/15/2016
                                                                  Henderson NV
                                  19
                                       2020 Chevy Suburban        Personal Vehicle. Located in   100%   7/25/2020
                                  20
                                                                  Henderson NV
                                  21
                                       2022 Chevy Silverado       Personal Vehicle. Located in   100%   12/18/2021
                                  22   Pick Up                    Bigfork MT
                                  23   2016 Tige Ski Boat &       Personal leisure boat in       100%   1/15/2017
                                       trailer                    Boulder City NV
                                  24
                                       2007 Lund Boat & trailer   Personal fishing boat in       100%   7/15/2020
                                  25
                                                                  Panguitch UT
                                  26
                                       2013 Razor ATV & trailer Personal leisure ATV in          100%   6/15/2013
                                  27                            Panguitch UT
                                  28



                                                                                  3
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                                       Rockinghorse Properties    LLC belonging to Denny           100%   6/30/1997
                                   1   LLC                        Seybert for real estate
                                                                  activities.
                                   2
                                       C&C Group Holdings         LLC belonging to Denny           100%   11/7/2011
                                   3   LLC                        Seybert and Julie Seybert for
                                   4                              family properties.

                                   5   JER2911 LLC                LLC that owns and operates a 26.50%     6/1/2012
                                   6                              real estate brokerage as an on-
                                                                  going business. 26.5% owner.
                                   7                              Silent Investor. Ownership as
                                   8                              Rockinghorse Trust.

                                   9   Hobbyhorse Associates      LLC that owns and operates a 50%        10/1/2005
                                  10   LLC                        real estate brokerage as an on-
                                                                  going business. 50% owner.
                                  11                              Silent Investor. Ownership as
                                  12                              Rockinghorse Trust.
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                                       Southern Nevada Real       LLC that owns Vegas Title.       50%    9/15/2018
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                                  14   Estate Services LLC        A proposed/inactive escrow
                                                                  company. Ownership as
                                  15                              Rockinghorse Trust.
                                  16
                                  17   Buckhead Investments       LLC that is used for real        50%    9/15/2018
                                  18   2018 LLC                   estate deals. Currently one
                                                                  such property. 50% owner
                                  19                              thru spouse; Julie Seybert.
                                  20
                                       Cavalo Holdings LLC        LLC for the holding and          50%    12/15/2013
                                  21                              management of commercial
                                                                  office space. 50% owner.
                                  22
                                                                  Silent owner. Ownership as
                                  23                              Rockinghorse Trust.
                                  24   Quarter Horse Associates   LLC for the holding and          18%    6/15/2005
                                       LLC                        management of 160 acres
                                  25
                                                                  piece of land in Phoenix area,
                                  26                              AZ. Approx 18% owner of
                                                                  LLC. Ownership as
                                  27
                                                                  Rockinghorse Trust.
                                  28



                                                                                  4
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                                              Investigation and compliance with this TRO is ongoing and Seybert reserves the right
                                   1
                                       and shall supplement this Response as more information becomes available.
                                   2
                                   3         DATED this 21st day of April, 2022.
                                   4                                        By:     /s/ Lance A. Maningo
                                   5                                                LANCE A. MANINGO
                                                                                    Attorney for Defendant SEYBERT
                                   6
                                   7
                                   8
                                   9
                                  10
                                  11                                 CERTIFICATE OF SERVICE

                                  12         I HEREBY CERTIFY that I am an employee of MANINGO LAW, and that on the
400 South 4th Street, Suite 650




                                  13
  Las Vegas, Nevada 89101




                                       21st day of April, 2022, I served the foregoing RESPONSE TO ACCOUNTING ORDERED
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                                  14
                                       PURSUANT TO APRIL 13, 2022 TEMPORARY RESTRAINING ORDER [ECF NO. 3]
                                  15
                                       via electronic service on the parties as shown below:
                                  16
                                  17
                                  18                  TRACY S. COMBS, Esq.
                                                      combst@sec.gov
                                  19
                                  20                  CASEY R. FRONK, Esq.
                                                      fronkc@sec.gov
                                  21
                                  22
                                  23                                                /s/ Kelly Valenti
                                                                                    An Employee of MANINGO LAW
                                  24
                                  25
                                  26
                                  27
                                  28



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